Case 3:17-cv-01112-JLS-MSB       Document 324    Filed 02/24/25    PageID.10371    Page
                                        1 of 4


  1    STRUCK LOVE BOJANOWSKI & ACEDO, PLC
       Daniel P. Struck, AZ Bar #012377
  2    (admitted pro hac vice)
       Rachel Love, AZ Bar #019881
  3    (admitted pro hac vice)
       Nicholas D. Acedo, AZ Bar #021644
  4    (admitted pro hac vice)
       Ashlee B. Hesman, AZ Bar #028874
  5    (admitted pro hac vice)
       Jacob B. Lee, AZ Bar #030371
  6    (admitted pro hac vice)
       3100 West Ray Road, Suite 300
  7    Chandler, Arizona 85226
       Tel.: (480) 420-1600
  8    Fax: (480) 420-1695
       dstruck@strucklove.com
  9    rlove@strucklove.com
       nacedo@strucklove.com
 10    ahesman@strucklove.com
       jlee@strucklove.com
 11
       LAW OFFICE OF ETHAN H. NELSON
 12    Ethan H. Nelson, CA Bar #262448
       4 Park Plaza, Suite 1025
 13    Irvine, California 92614
       Tel.: (949) 229-0961
 14    Fax: (949) 861-7122
       ethannelsonesq@gmail.com
 15
       Attorneys for Defendant/Counter-Claimant
 16    CoreCivic, Inc.
 17                           UNITED STATES DISTRICT COURT
 18                          SOUTHERN DISTRICT OF CALIFORNIA
 19    Sylvester Owino and Jonathan Gomez,            NO. 3:17-cv-01112-JLS-SBC
       on behalf of themselves, and all others
 20    similarly situated,                            JOINT STATUS REPORT
 21                      Plaintiffs,                  Judge: Honorable Janis L. Sammartino
                                                      Magistrate Judge: Honorable Michael S.
 22    v.                                             Berg
 23    CoreCivic, Inc., a Maryland
       corporation,
 24
                         Defendant.
 25

 26

 27

 28

       Joint Status Report                        1                        17cv01112-JLS-MSB
Case 3:17-cv-01112-JLS-MSB        Document 324      Filed 02/24/25   PageID.10372    Page
                                         2 of 4


  1       CoreCivic, Inc., a Maryland
          corporation,
  2
                            Counter-Claimant,
  3
          v.
  4
          Sylvester Owino and Jonathan Gomez,
  5       on behalf of themselves, and all others
          similarly situated,
  6
                            Counter-Defendants.
  7

  8             Pursuant to ECF No. 284, Plaintiffs Sylvester Owino and Jonathan Gomez
  9   (“Plaintiffs”) and Defendant CoreCivic, Inc. (“CoreCivic”) hereby submit their final
 10   Joint Status Report regarding nationwide electronically stored information (“ESI”)
 11   review and production.
 12             CoreCivic has continued to make bi-weekly rolling productions and is on pace
 13   to make its final production of nationwide ESI on February 27, 2025, pursuant to the
 14   Court’s June 26, 2024 Order (Dkt. 293).
 15             CoreCivic has been using a TAR 2.0 model with Brainspace’s Continuous
 16   Multi-Modal Learning classification module to prioritize documents for review. On
 17   Friday, February 21, 2025, CoreCivic commenced an elusion review of 1,085
 18   documents using a 95% confidence interval and 3% margin of error (“MOE”), which
 19   resulted in an elusion rate of 1.47%, with an estimated recall rate of 79.65%, and a
 20   richness rate of 15.13% as of the end of the day on February 20, 2025. 1 Based on
 21   these numbers, CoreCivic intends to terminate the review and complete production
 22   of nationwide ESI by Thursday, February 27, 2025.
 23             Pursuant to the Court’s June 26, 2024 Order (Dkt. 293), the parties will submit
 24   a proposed Scheduling Order as to the remaining proceedings on or before March 6,
 25   2025.
 26

 27
      1
 28       The richness rate has been below 16% since early January.

          Joint Status Report                        2                      17cv01112-JLS-MSB
Case 3:17-cv-01112-JLS-MSB   Document 324     Filed 02/24/25   PageID.10373   Page
                                    3 of 4


  1
              Dated: February 24, 2025
  2

  3                                      By s/ Jacob B. Lee
                                            Daniel P. Struck
  4                                         dstruck@strucklove.com
                                            Rachel Love
  5                                         rlove@strucklove.com
                                            Nicholas D. Acedo
  6                                         nacedo@strucklove.com
                                            Ashlee B. Hesman
  7                                         ahesman@strucklove.com
                                            Jacob B. Lee
  8                                         jlee@strucklove.com
                                            STRUCK LOVE BOJANOWSKI & ACEDO, PLC
  9
                                             Ethan H. Nelson
 10                                          LAW OFFICE OF ETHAN H. NELSON
                                             ethannelsonesq@gmail.com
 11
                                             Attorneys for Defendant/Counter-Claimant
 12                                          CoreCivic, Inc.
 13

 14
                                         By s/Alan R. Ouellette(w/permission)
                                           Eileen R. Ridley
 15                                        Geoffrey Raux
                                           Alan R. Ouellette
 16                                        FOLEY & LARDNER LLP
 17                                          Robert L. Teel
 18                                          LAW OFFICE OF ROBERT L. TEEL

 19                                          Attorneys for Plaintiffs/Counter-Defendants
                                             Sylvester Owino, Jonathan Gomez, and the
 20                                          Proposed Class(es)
 21

 22

 23

 24

 25

 26

 27

 28

       Joint Status Report                     3                      17cv01112-JLS-MSB
Case 3:17-cv-01112-JLS-MSB     Document 324      Filed 02/24/25    PageID.10374    Page
                                      4 of 4


  1                            SIGNATURE CERTIFICATION
  2          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  3   Policies and Procedures Manual of the United States District Court for the Southern
  4   District of California, I hereby certify that the content of this document is acceptable
  5   to Alan R. Ouellette, counsel for Plaintiffs, and that I have obtained authorization to
  6   affix his electronic signature to this document.
  7           Dated: February 24, 2025      By      Jacob B. Lee
                                                 Jacob B. Lee
  8

  9                             CERTIFICATE OF SERVICE
 10          The undersigned hereby certifies that a true and correct copy of the above and
 11   foregoing document has been served on February 24, 2025, to all counsel of record
 12   who are deemed to have consented to electronic service via the Court’s CM/ECF
 13   system per Civil Local Rule 5.4.
 14           Dated: February 24, 2025      By      Jacob B. Lee
                                                 Jacob B. Lee
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

       Joint Status Report                        4                        17cv01112-JLS-MSB
